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                             UNITED STATES DISTRICTCOURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


     ROYCE RODGERS,                                  CASE NO.: 8:20-cv-3000

          Plaintiff,

 v.

     PASCO COUNTY SHERIFF, CHRISTOPHER
     NOCCO,
     COLONEL JEFFREY HARRINGTON,
     MAJOR KEN GREGORY, MAJOR OF PATROL
     OPERATIONS,
     LIEUTENANT STEVEN FRICK,
     MAJOR STACY JENKINS,

                  Defendants.
                                         /

                         COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, ROYCE RODGERS (hereinafter “RODGERS”), by and through his undersigned

attorney, files this Complaint and Demand for Jury Trial, individually, bringing this action

against Defendants, PASCO COUNTY SHERIFF, CHRISTOPHER NOCCO (hereinafter

“NOCCO”); and Colonel JEFFERY HARRINGTON (hereinafter “HARRINGTON”); Major

KENNETH GREGORY (hereinafter “GREGORY”), Lieutenant STEVEN FRICK (hereinafter

“FRICK”), and Major STACY JENKINS (hereinafter “JENKINS”)

                                  I.    JURISDICTION AND VENUE

1.      This action is brought to remedy claims for violations of 18 U.S.C.A. Sec. 1964, the

Federal “racketeering” statute.

2.    This action also arises under the Constitution and laws of the United States, particularly 42


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U.S.C. §§ 1983 and 1988, the Fourth, Fifth, and Fourteenth Amendment to the United States

Constitution, and applicable Florida Law.

3.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 1343(a)(4)

because the claims arise under the laws of the United States and Plaintiff seek redress for

violation of federal laws. There lies supplemental jurisdiction over Plaintiff’s state law claims

because they arise out of the same common nucleus of operative facts and Plaintiff’ federal

claims asserted herein.

4.   Plaintiff seeks economic and compensatory damages, attorneys’ fees and all other

appropriate relief pursuant to governing law.

5.   This Court may properly maintain personal jurisdiction over Defendants because their

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction

over them, complying with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in International Shoe Co. v. Washington,

326 U.S. 310 (1945) and its progeny.

6.   Pursuant to 28 U.S.C. §§ 1391(b)(1) and (b)(2), venue is properly laid in this district

because all of the acts and/or omissions giving rise to the claims set forth herein occurred in this

judicial district, and defendants are deemed to reside where they are subject to personal

jurisdictions, rendering Defendants residents of the Middle District of Florida.

                                              PARTIES

7.   Plaintiff, ROYCE RODGERS is a citizen of Florida and is a former employee of the Pasco

     County Sheriff’s Office.

 8. Defendant, PASCO COUNTY SHERIFF, CHRISTOPHER NOCCO is a citizen of

     Florida, and, for all times relevant to this complaint, was an employee of THE PASCO


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   COUNTY SHERIFFF’S OFFICE, and is being sued in his official and individual capacity.

9. Defendant, PASCO COUNTY SHERIFF COLONEL, JEFFREY HARRINGTON is a

   citizen of Florida, and for all times relevant to this complaint, was an employee of THE

   PASCO COUNTY SHERIFFF’S OFFICE, and is being sued in his official and individual

   capacity.

10. Defendant, PASCO COUNTY SHERIFF MAJOR, KEN GREGORY is a citizen of Florida,

   and for all times relevant to this complaint, was an employee of THE PASCO COUNTY

   SHERIFFF’S OFFICE, and is being sued in his official and individual capacity.

11. Defendant, PASCO COUNTY SHERIFF LIEUTENANT, STEVEN FRICK is a citizen of

   Florida, and for all times relevant to this complaint, was an employee of THE PASCO

   COUNTY SHERIFFF’S OFFICE, and is being sued in his official and individual capacity.

12. Defendant, PASCO COUNTY SHERIFF MAJOR STACY JENKINS is a citizen of Florida,

   and for all times relevant to this complaint, was an employee of THE PASCO COUNTY

   SHERIFFF’S OFFICE, and is being sued in his official and individual capacity.

                                 GENERAL ALLEGATIONS


13. The named Defendants have engaged in a pattern and practice, through the Pasco Sheriff’s

   Office, of engaging in “racketeering activity” through: Mail fraud-18 U.S.C. § 1341, Wire

   fraud-18 U.S.C. § 1343, Tampering with a Witness, Victim, or an Informant- 18 U.S.C. §

   1512, Theft or embezzlement from employee benefit plan.– 18 U.S. Code § 664.

14. Defendants’ conduct violates the Federal Racketeer Influenced and Corrupt Organizations

   Act, 18 U.S.C. § 1961 et seq. (“Federal RICO”), and Florida’s Racketeering Statute, Chapter

   895 et seq. (Florida “RICO”), as more fully set forth below.

15. The Plaintiffs’ individual experiences of intimidation, coercion, extortion and other


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   unethical behavior by the Defendants, his supervisors at the Pasco Sheriff’s Office is well

   documented and is set out in the body of the Complaint.

16. The customs and practices of the conduct engaged in by the Defendants is predicated on

   the targeting of Plaintiffs (and others) who would not exhibit undying loyalty to all

   operational demands the Defendants placed on Plaintiffs, regardless of their legality or

   constitutionality.

17. At the foundation of this case is the Defendants’ implementation of “Intelligence Led-

   Policing” (ILP). This unique form of criminological policing was implemented by the

   Sherriff’s Office in 2011, and “we have continuously been in the process of improvising,

   adapting, and overcoming to consistently create positive results in or operations. A copy

   of the ILP Manual s attached hereto and incorporated herein as Exhibit “A.”

18. The “core components” of ILP are predicated in the belief that “6% of criminals commit

   60% percent of the crime and others point to 20% of the criminals committing 80% of the

   crime.”

19. The ILP philosophy targets those deemed to be “prolific offenders,” and the ILP dictates

   “it is incumbent on us to focus our efforts on those criminals who we have reason to believe

   are frequent or prolific offenders.”

20. The major problem with the ILP practices demanded by the SHERIFF’S OFFICE is the

   concept that, “Speed is critical to success and bureaucratic processes that delay

   implementation must be overcome.” The problem is that the “bureaucratic processes”

   contemplated by the ILP practices are the fundamental constitutional considerations of

   “probable cause” and the many other constitutional protections that apply to all citizens in

   a free society.


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21. An overarching consideration in this action is that any resistance to the unconstitutional

   actions demanded by implementation of the ILP by any Plaintiff would result in the swift

   application of the various tools used by the Defendants which are alleged to comprise the

   “predicate acts” supporting the “racketeering” conduct described herein.

22. Any resistance, opposition, comment, or even the slightest hint of not “playing along” with

   these operational demands would be subject to Defendants inflicting abuse, intimidation,

   threatened or actual incarceration, extortion, defamation and permanent damage to

   Plaintiffs’ ability to pursue alternative careers in law enforcement.

23. When the Defendants did not get what they wanted, they retaliated against the Plaintiffs

   with baseless internal departmental investigations intended to ruin the Plaintiffs’ careers

   and, in some instances, prevented him from gaining employment with any other law

   enforcement agency.

24. In approximately 2010, Plaintiff, RODGERS started working for the Pasco Sheriff’s

   Office as a patrol deputy, patrolling District Three (3). In approximately 2012, Plaintiff,

   RODGERS was selected as a Field Training Officer. In approximately 2013 Plaintiff,

   RODGERS was appointed to Corporal.

25. In approximately April of 2015 Plaintiff, RODGERS was selected by Defendant,

   HARRINGTON to head District Three’s STAR Team, where they targeted prolific

   offenders and convicted felons.

26. Under STAR, a new list was generated every week by civilian analysts that would list

   five (5) new prolific offenders, as well as their families and associates within Pasco

   County, FL.

27. Defendant, JENKINS ordered Plaintiff, RODGERS to “make their lives miserable until


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   they move or sue us,” referring to the weekly prolific offenders. He was ordered to visit

   these prolific offenders, their families, and their associates at all hours, numerous times

   a day.

28. In approximately February of 2016, Plaintiff, RODGERS was promoted to Sergeant for

   District One (1) Patrol. This was given to him because he continuously followed all of

   Defendants, NOCCO, HARRINGTON, GREGORY and JENKINS’ orders to harass the

   prolific offenders, their families and their associates.

29. Defendant, RODGERS refused Lieutenant Sarne’s order to set up a perimeter while

   driving Code Three (3) with lights and sirens, towards a Deputy who requested

   assistance, after a suspect fled from him. It is against Pasco Sheriff’s Office General

   Order to use the computer while driving Code Three (3) and it is extremely dangerous.

30. Plaintiff, RODGERS was ordered by Lieutenant Sarne to find a child abuse case as

   unfounded. Plaintiff, RODGERS apprised Lieutenant Sarne that he had not yet spoken

   to the child victim so he could not find it unfounded.

31. Lieutenant Sarne told Plaintiff, RODGERS that he had read the statements made by the

   suspected parents, and that based on the information, the Complaint was unfounded.

32. Plaintiff, RODGERS insisted that he speak to the victim before making a finding on the

   case but Lieutenant Sarne ordered him to find the Complaint unfound without

   conducting the victim interview.

33. Plaintiff, RODGERS was written up for this report, even though the reporting deputy

   was still investigating the incident with the victim.

     A.     The Plaintiff received an official punishment by having this ‘write up’ in his

            record, affecting his ability to obtain employment in other departments, even

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            though the investigation was not yet completed.

34. On or about April 23, 2019, when Plaintiff, RODGERS returned from surgery, he met

   with Defendants, GREGORY and FRICK where he was told that both of his write ups

   were going to be sustained, but that they were not going to discipline him for them.

35. They informed Plaintiff, RODGERS that they had no evidence of the incident but that

   he had to resign immediately, or they were going to fire him and he would not be

   eligible for his vacation or sick pay.

36. Plaintiff, RODGERS was also told that they had just received a Complaint for an

   incident that happened the previous year, alleging he had pepper sprayed a homeless

   person’s camp. They informed Plaintiff, RODGERS that they had no evidence of the

   incident, but that he had to resign immediately or they were going to fire him and he

   would not be eligible for his vacation or sick pay.

37. Plaintiff, RODGERS requested that he be demoted so that he could continue to work at

   the Pasco Sheriff’s Office, instead of being extorted to resign by the Defendants,

   GREGORY and FRICK.

38. Defendants, GREGORY and FRICK conferred with Defendants, NOCCO and

   HARRINGTON regarding Plaintiff, RODGERS’ request and were advised that they

   would not allow Plaintiff, RODGERS to stay on with the Pasco Sheriff’s Office and that

   he only had two options: (1) resign immediately; or (2) be fired and the Pasco Sheriff’s

   Office would keep his vacation and sick leave pay totaling approximately twenty six

   thousand ($26,000) dollars.

       A. The Defendants conspired to violate 18 U.S. Code § 664. – Theft or

           embezzlement from employee benefit plan “any person who embezzles, steals,

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           or unlawfully and willfully abstracts . . . any of the moneys, funds, securities,

           premiums, credits, property, or other assets of any employee welfare benefit plan

           or employee pension benefit plan, or of any fund connected therewith . . .”

39. Defendants, NOCCO, HARRINGTON, GREGORY and FRICK refused to provide any

   evidence pertaining to the alleged incident against Plaintiff, RODGERS, and for which

   he was being extorted to resign or be fired.

40. All conduct of Defendants complained of herein was undertaken under color of State law.


41. All conditions precedent to the filing if this Complaint have been satisfied and all

   administrative remedies have been satisfied or would have been futile.

                             COUNT I:
  A DESCRIPTION OF THE PREDICATE ACTS SUPPORTING VIOLATIONS OF
            FEDERAL AND STATE RACKETEERING STATUTES

42. Plaintiff re-alleges and re-incorporates paragraphs 1-41 above as if set forth fully herein.

      A.      The conduct described in the General Allegations above shows that the

              Defendants violated 18 U.S.C. § 1512(b) – Tampering with a witness, victim,

              or an informant, “whoever knowingly uses intimidation, threatens, or

              corruptly persuades another person, or attempts to do so, or engages in

              misleading conduct toward another person, with intent to… (2) cause or

              induce any person to…. (A) withhold testimony, or withhold a record,

              document, or other object, from an official proceeding….” as they ordered

              Lieutenant Sarne, to impede in this investigation, and subsequently retaliated

              against the Plaintiff when he had ignored this unlawful order and continued

              his duties as a Law Enforcement Officer.

      B.      The conduct described in the General Allegations above shows that the

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          Defendants’ refusal to allow the Plaintiff to investigate the incident as

          described in paragraph 32 is in violation of 18 U.S.C. § 1512. Tampering with

          a witness, victim, or an informant, “whoever knowingly uses intimidation,

          threatens, or corruptly persuades another person, or attempts to do so, or

          engages in misleading conduct toward another person, with intent to… (2)

          cause or induce any person to…. (A) withhold testimony, or withhold a

          record, document, or other object, from an official proceeding….”. Here

          Lieutenant, in furtherance of the orderd given to him by the Defendants under

          the chain of command, corruptly persuaded the Plaintiff from collecting

          testimony and documents for an official proceeding.

    C.    The conduct described in the General Allegations above shows that the

          Defendants, as ordering these complaints to be filed against the Plaintiff,

          violated 18 U.S.C. § 1341 – Mail Frauds section “devise any scheme or artifice

          to defraud… by means of false or fraudulent pretenses”. The Defendants false

          Complaints were created and pursued as a scheme, under false and fraudulent

          pretenses, to harass the Plaintiff to force him to resign or create grounds for a

          dismissal.

    D.    The conduct described in the General Allegations above shows that the

          Defendants violated 18 U.S.C §1343 – Wire Frauds section under these same

          grounds, as all documents, and notices transmitted, drafted, or received in

          relation to these fraudulent proceedings were transmitted either by mail or

          electronic means.

    E.    The conduct described in the General Allegations above shows that the


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                Defendants violated 18 U.S.C. § 1961(1)(A) – Racketeering Activity “any act

                or threat involving … extortion” by intimidation and threat of dismissal if the

                Plaintiff did not comply with the order to resign.

      F.        The conduct described in the General Allegations above shows that the

                Defendants conspired to violate 18 U.S. Code § 664. – Theft or embezzlement

                from employee benefit plan “any person who embezzles, steals, or unlawfully

                and willfully abstracts . . . any of the moneys, funds, securities, premiums,

                credits, property, or other assets of any employee welfare benefit plan or

                employee pension benefit plan, or of any fund connected therewith . . .”

      G.        Based on the foregoing, the Defendants specified in the above Counts have

                engaged in conduct in violation Mail fraud-18 U.S.C. § 1341, Wire fraud-18

                U.S.C. § 1343, Tampering with a Witness, Victim, or an Informant- 18 U.S.C.

                § 1512, Theft or embezzlement from employee benefit plan.– 18 U.S. Code

                § 664, and violated Fla. Stat. § 895.02(8)(b) by engaging in conduct defined as

                “racketeering activity” under 18 U.S.C. s. 1961(1) including extortion, and

                knowingly and intentionally violated the above listed laws, committing clear

                cut predicate offenses establishing violations of Federal and State RICO laws,

                and conspired to interfere with civil rights violations, proximately causing

                Plaintiffs actual, consequential and special damages.



                                     PRAYER FOR RELIEF

           Plaintiff RODGERS demands judgment and other relief as follows:

 A.        An award to Plaintiff’s actual, consequential and special damages shown

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 to be caused by Defendants;

 B.      Judgment in an amount equal to three times actual damages sustained by

 the plaintiff, pursuant to 18 U.S.C. § 1964(c);

 C.      Reasonable attorney’s fees, pursuant to 18 U.S.C. § 1964(c);

 D.      Judgment in an amount equal to three times actual damages sustained by Plaintiff,

 pursuant Fla. Sta. § 895 et seq.;

 E.      Any damages, fees, and costs provided pursuant to Fla. Sta. § 772.104 et

 seq.;

 F.      Such relief as this Court deems necessary and appropriate.

                                     DEMAND FOR JURY TRIAL

 Plaintiffs herein would demand a JURY TRIAL on all issues so triable.

 Respectfully submitted this         Day of        , 2020.




                                                      /s/Luke Lirot
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